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     Telephone: (916) 554-2932
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 2:11-cr-00096-JAM
                                           )
12                      Plaintiff,         )    STIPULATION AND ORDER
                                           )
13   v.                                    )    DATE: December 4, 2012
                                           )    TIME: 9:45 a.m.
14   ORLANDO FLETES-LOPEZ,                 )    COURT: Hon. John A. Mendez
                                           )
15                      Defendant.         )
                                           )
16                                         )
                                           )
17
18        IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff, and Tim
21   Pori, attorney for defendant Orlando Fletes-Lopez that the
22   previously-noticed hearing date of December 4, 2012, be vacated and
23   the matter re-scheduled for January 22, 2013, at 9:45 a.m.            The
24   parties further request that the Court order the government’s
25   response be due on January 8, 2013, and the defendant’s reply, if
26   any, be due on January 15, 2013.
27        This request is made jointly by the government and defense.
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 1   Dated: November 29, 2012                /s/ Paul Hemesath
                                             Paul Hemesath
 2                                           Assistant United States Attorney
                                             Counsel for Plaintiff
 3
 4   Dated: November 29, 2012                /s/ Tim Pori
                                             TIM PORI
 5                                           Attorney for Defendant
                                             ORLANDO FLETES-LOPEZ
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10                                     O R D E R
11        Having received, read, and considered the stipulation of the
12   parties, and good cause appearing therefrom, the Court orders that
13   the hearing currently noticed for December 4, 2012, shall be re-
14   scheduled for January 22, 2013 at 9:45 a.m.        It is further ordered
15   that the governments response to defendant’s motion shall be filed no
16   later than January 8, 2012, and defendant’s reply, if any, shall be
17   filed no later than January 15, 2012.
18
     Dated: 12/3/2012
19                                           /s/ John A. Mendez
                                             Hon. John A. Mendez
20                                           United States District Court Judge
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